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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA




                                                           JUDGMENT IN A CIVIL CASE

PETER L. FEAR, ET AL.,

                                                         CASE NO: 2:18−CV−02333−KJM−DB
                   v.

UNITED STATES OF AMERICA, ET AL.,




    Decision by the Court. This action came before the Court. The issues have been tried,
    heard or decided by the judge as follows:

    IT IS ORDERED AND ADJUDGED

       THAT JUDGMENT IS HEREBY ENTERED IN ACCORDANCE WITH THE
       COURT'S ORDER FILED ON 1/11/2023




                                                    Keith Holland
                                                    Clerk of Court


   ENTERED: January 11, 2023


                                    by: /s/ K. Spichka
                                                          Deputy Clerk
